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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  DAVID BUNDRAGE,

                                Plaintiff,

  vs.                                            CASE NO. 8:13-cv-01676-EAK-EAJ

  OMNI CREDIT SERVICES
  OF FLORIDA, INC.,


                        Defendant.
  ____________________________________/

                    MOTION FOR DEFAULT JUDGMENT
              AND MEMORANDUM OF LAW IN SUPPORT THEREOF

         COMES NOW, Plaintiff, DAVID BUNDRAGE, by and through his undersigned

  counsel, and moves this Court for an award of Default Judgment, pursuant to Fed. R. Civ.

  P. 55(b)(2), against Defendant, OMNI CREDIT SERVICES OF FLORIDA, INC., and as

  grounds therefore, states as follows:

         1.      On June 27, 2013, Plaintiff filed his Complaint in the above-entitled

  action, alleging that the acts or omissions of Defendant violated the Fair Debt Collection

  Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). [DE-1]

         2.      Defendant was personally served with the Complaint on July 30, 2013.

  [DE-5]. As of this date, Defendant has failed to file a response to Plaintiff’s Complaint

  or to otherwise appear in this action. Accordingly, on August 29, 2013, the Clerk entered

  default against Defendant. [DE-7]


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            3.      As a result of the default, Defendant has admitted all matters except for

     the amount of damages. Specifically, Defendant has admitted to the following violations

     of the FDCPA:

                   Placing calls without meaningful disclosure of the its identity, in
                    violation of the FDCPA, 15 U.S.C. § 1692d(6) on at least four (4)
                    separate occasions; and

                   Failing to disclose its status as a debt collector in telephone
                    messages to Plaintiff in violation of the FDCPA, 15 U.S.C. §
                    1692e(11) on at least four (4) separate occasions.

            4.      As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to

     recover statutory damages in an amount up to $1,000.00 plus court costs, reasonable

     attorney’s fees, and post judgment interest as provided by law. 15 U.S.C. § 1692k.

     Based on the case law presented in the incorporated Memorandum of Law, Plaintiff

     submits that Defendant’s violations warrant the award of full statutory damages of

     $1,000.00.

            WHEREFORE, Plaintiff requests this Court enter Default Judgment against

     Defendant, OMNI CREDIT SERVICES OF FLORIDA, INC., awarding Plaintiff FDCPA

     statutory damages of $1,000.00 plus post judgment interest at the rate currently allowable

     by law and entitlement to attorney’s fees and costs with this Court to retain jurisdiction to

     determine the amount of attorney’s fees and costs.

                                   MEMORANDUM OF LAW

I.      DEFENDANT’S FAILURE TO DEFEND CONSTITUTES ADMISSION OF
        LIABILITY UNDER THE LEGAL THEORIES ALLEGED




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           Federal Rule of Civil Procedure 8(b)(6), which is the equivalent of former Rule

  8(d), provides in pertinent part: “An allegation—other than one relating to the amount of

  damages—is admitted if a responsive pleading is required and the allegation is not

  denied.” Fed. R. Civ. P. 8(b)(6) (as amended 2010). “By failing to submit an answer or

  other pleading denying the factual allegations of Plaintiff’s complaint, Defendant

  admitted those allegations, thus placing no further burden upon Plaintiff to prove its case

  factually.” Burlington Northern R. Co. v. Huddleston, 94 F.3d 1413, 1415 (10th Cir.

  1996) (citing former Rule 8(d)).          Thus, Defendant has admitted all of the factual

  allegations set forth in the Complaint.

     A. The facts alleged in the complaint establish Defendant’s liability for multiple
        violations of the FDCPA.

           “To establish a claim under the FDCPA, the plaintiff must show: ‘(1) the plaintiff

  has been the object of collection activity arising from consumer debt, (2) the defendant is

  a debtor collector as defined by the FDCPA, and (3) the defendant has engaged in an act

  or omission prohibited by the FDCPA.’” Sanz v. Fernandez, 633 F. Supp. 2d 1355 (S.D.

  Fla. 2009) (quoting Pescatrice v. Orovitz, P.A., 539 F. Supp. 2d 1375, 1378 (S.D. Fla.

  2008).

           Here, Plaintiff has alleged and Defendant has admitted by its failure to answer

  that Defendant sought to collect from Plaintiff an alleged debt arising from transactions

  incurred for personal, family, or household purposes. [DE-1, at ¶ 9] Likewise, it has

  been established that Defendant is a debt collector as defined by the FDCPA. [DE-1, at ¶

  7] Further, as addressed below Plaintiff’s allegations establish that Defendant engaged in

  acts or omissions prohibited by the FDCPA.


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               1. Defendant violated section 1692e(11) of the FDCPA by failing to
                  disclose its status as debt collector.

         The FDCPA prohibits: “the failure to disclose in subsequent communications that

  the communication is from a debt collector.” 15 U.S.C. §1692e(11). In finding summary

  judgment for the plaintiff on this same issue, United States District Judge William P.

  Dimitrouleas stated, “The provisions of the FDCPA are clear that in initial or subsequent

  communications, it must be disclosed that the communication is from a debt collector.”

  Drossin v. Nat'l Action Fin. Servs., 641 F. Supp.2d 1314, 1319 (S.D. Fla. 2009). Here,

  Defendant left no less than four (4) telephone messages for Plaintiff in which Defendant

  failed to disclose it was a debt collector. Pl.’s Compl. ¶¶ 10, 11. In Belin v. Litton Loan

  Servicing, 2006 WL 1992410, *5, 2006 U.S. Dist.LEXIS 47953 (M.D.Fla., July 14,

  2006), Judge Bucklew wrote: “the court finds that the messages left on Ms. Belin’s

  answering machine constitute communications that can support a violation of 15 U.S.C. §

  1692e(11).” See also Foti v. NCO Fin. Sys., 424 F. Supp. 2d 643, 668-70 (S.D.N.Y.

  2006). In another case involving telephone messages which the caller failed to state it

  was a debt collector the court granted summary judgment for the consumer on her claims

  that the debt collector’s telephone messages violated 15 U.S.C. §§1692e(11). Leyse v.

  Corporate Collection Servs., 2006 WL 2708451, *4 and *6, 2006 U.S. Dist. LEXIS

  67719 (S.D.N.Y., Sept. 18, 2006). Thus, Defendant’s telephone messages left for Plaintiff

  which failed to inform that the call was from a debt collector violated 15 U.S.C. §

  1692e(11).




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             2. Defendant violated section 1692d(6) of the FDCPA by failing to state
                the nature of its business.

         The FDCPA enumerates as a violation “the placement of telephone calls without

  meaningful disclosure of the caller’s identity.” 15 U.S.C. §1692d(6). Courts have held

  this statute to require the disclosure of the debt collector’s name, the purpose of the call

  or the nature of the caller’s business. Wright v. Credit Bureau of Georgia, Inc., 548 F.

  Supp. 591, 597 (N.D.Ga. 1982) (“‘the meaningful disclosure’ required by section

  1692d(6) has been made if an individual debt collector who is employed by a debt

  collection company accurately discloses the name of her employer and the nature of her

  business and conceals no more than her real name.”) (emphasis added).

         In the instant case, Defendant’s messages failed to disclose the debt collector’s

  name, the purpose of the call or the nature of the caller’s business. Pl.’s Compl. ¶ 10.

  Considering telephone messages similar to those at issue here the Southern District of

  California held:


            The Court finds the decision in Joseph I to be persuasive in that “meaningful
            disclosure” presumably requires that the caller must state his or her name and
            capacity, and disclose enough information so as not to mislead the recipient as to
            the purpose of the call or the reason the questions are being asked. See Ahart §§
            2:78 (citing Joseph I ); 2:191 (citing Joseph I ). The Court concludes that
            defendant violated § 1692d(6) when its employees failed to disclose defendant's
            identity and the nature of defendant's business in the messages left on plaintiff's
            answering machine.

  Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp.2d 1104 (S.D.Cal. 2005) (footnote

  omitted); see Costa v. National Action Financial Services, 2007 WL 4526510, *4-*5

  (E.D.Cal., Dec 19, 2007).




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           Accordingly, United States District Judge Kenneth A. Marra held the following

  message violated 15 U.S.C. §1692d(6):


             This is Heather with Affiliated Credit Services. I would like a return call as soon
             as possible at 800-264-2439. Again this is Heather with Affiliated Credit Services.
             My number is 800-264-2439. Thank you.

  The Court held:

             This voice mail fails to meet the FDCPA meaningful disclosure requirements in
             §1692d(6) because it does not state the nature of Defendant's business. See
             Wright, 548 F. Supp. at 597; Hosseinzadeh, 387 F. Supp. 2d at 1112.

  Valencia v. Affiliated Group, Inc., 2008 U.S. Dist. LEXIS 73008 (S.D. Fla. Sept. 23,

  2008).

           The 11th Circuit recently affirmed a decision of the Northern District of Georgia

  which found the following messages violated 15 U.S.C. §1692d(6):

             One of the voice messages left for Plaintiff stated as follows: "This is an important
             message for Brenda Edwards. Please return this message at 1-800-381-0416
             between the hours of 8 am and 9 pm Eastern Standard Time." SMF at P 9.

             On or about September 26, 2007, Defendant left a pre-recorded message on
             Plaintiff's answering machine that stated that the message was "important" but did
             not state the name of Defendant. SMF at PP 12-14. In early October of 2007,
             Defendant left a message on Plaintiff's answering machine that stated as follows:
             "This message is intended for Brenda Edwards. Please contact Jennifer [last name
             not clear] at 1 800 381 0416, my extension is 220. When returning my call have
             your file number available, it's 1250740." SMF at P 15. Defendant also left a
             message on Plaintiff's answering machine in the middle of October of 2007 that
             stated as follows: "Brenda Edwards, contact Mrs. Strickland at 1-800-381-0416
             extension 220. When returning the call have your file number available, please,
             1250740." SMF at P 16.

           In the instant case, Defendant’s messages do not give Defendant’s name or any

  indication of the nature of Defendant’s business of the purpose of its calls. Thus,

  Defendant’s telephone messages left for Plaintiff failed to provide meaningful disclosure

  of its identity in violation of 15 U.S.C. §1692d(6).




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II.      PLAINTIFF IS ENTITLED TO RECOVER STATUTORY DAMAGES,
         COSTS, AND ATTORNEY’S FEES FOR DEFENDANT’S VIOLATIONS OF
         THE FDCPA.

             The FDCPA entitles all prevailing plaintiffs to actual damages,1 statutory

      damages up to $1000.00, as well as court costs and reasonable attorneys’ fees. In this

      respect, the FDCPA provides:

                 (a) Except as otherwise provided by this section, any debt collector who fails to
                 comply with any provision of this title with respect to any person is liable to such
                 person in an amount equal to the sum of—
                       (1) any actual damage sustained by such person as a result of such failure;
                       (2) (A) in the case of any action by an individual, such additional damages as
                 the court may allow, but not exceeding $1,000; …
                       (3) in the case of any successful action to enforce the foregoing liability, the
                 costs of the action, together with a reasonable attorney’s fee as determined by
                 the court.
                 (b) In determining the amount of liability in any action under subsection (a), the
                 court shall consider, among other relevant factors—
                     (1) in any individual action under subsection (a)(2)(A), the frequency      and
                       persistence of noncompliance by the debt collector, the nature of such
                       noncompliance, and the extent to which such noncompliance was
                 intentional;

      15 U.S.C. § 1692k.

         A. Statutory Damages

              Under the plain language of both the FDCPA, in determining the appropriate

      amount of statutory damages to award, the court must consider the following three

      factors: (1) the nature of the defendant’s noncompliance; (2) the frequency and

      persistence of the noncompliance; and (3) the extent to which the noncompliance was

      intentional. 15 U.S.C. § 1692k.2


         1
          Plaintiff is not requesting actual damages.
         2
           An award of actual damages is not a prerequisite to the recovery of statutory damages under
         either the FCCPA or the FDCPA, thus a consumer is entitled to statutory damages even if the
         consumer is unable to prove it has suffered actual damages. Harper v. Better Bus. Servs., Inc., 961
         F.2d 1561 (11th Cir. 1992) (affirming trial courts awarding of $1,000 maximum FDCPA statutory
         damages where consumer offered no proof of actual damages); Laughlin v. Household Bank, Ltd.,


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              1. Nature of Defendant’s noncompliance.

         The nature of Defendant’s noncompliance was that it failed to inform Plaintiff in

  its messages that the calls were from a debt collector in violation of 15 U.S.C. §

  1692e(11) and failed to provide meaningful disclosure of its identity in the messages in

  violation of 15 U.S.C. § 1692d(6).

              2. Frequency and persistence of Defendant’s noncompliance.

         The noncompliance with the FDCPA by Defendant was persistent. Plaintiff has

  established that in each of Defendant’s four (4) messages for Plaintiff it failed to state

  that it was debt collector and in each of the four (4) messages failed to state its name, and

  failed to give any indication whatsoever of the nature of its business or purpose of its call.

  Thus, Defendant committed at least eight (8) violations of the FDCPA, warranting the

  imposition of the maximum statutory damages of $1,000.00.

              3. Extent to which Defendant’s noncompliance was intentional.

         Defendant’s noncompliance was intentional. In this respect, Defendant chose to

  deliver a pre-recorded message to Plaintiff, which did not include the necessary

  disclosures.

         Further, in resolving statutory damages issues courts should be mindful of three

  principles. First, the FDCPA was enacted to curb what the legislatures believed to be a

  series of abuses in the area of debtor-creditor relations. See S. Rep. No. 95-382 (1977),

  reprinted in 1977 U.S.C.C.A.N. 1695, 1696 (discussing Congresses’ intent in enacting

  the FDCPA). Second, the legislature provided for statutory damages under the FDCPA to

     969 So. 2d 509, 513 (Fla. 1st DCA 2007) (stating that in order to succeed under FCCPA consumer
     “is not required to prove actual damages, but only a violation of one of the prohibited practices”).


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  encourage consumers to bring private actions, which the legislatures intended to be the

  primary enforcement mechanisms of the acts.            See id.   Third, another reason the

  legislature provided statutory damages was to provide a penalty to dissuade debt

  collectors from engaging in abusive collection practices. See Strange v. Wexler, 796 F.

  Supp. 1117, 1120 (N.D. Ill. 1992) (stating, “One purpose of statutory damages is to create

  an incentive to obey the law”). Thus, in addition to considering the factors discussed

  above, this Court should determine the appropriate amount of statutory damages in a

  manner that will both encourage other debt collection harassment victims to bring private

  actions and dissuade Defendant from engaging in future prohibited collection practices

  consistent with the legislatures’ intent in enacting the Act.

         In this case, Plaintiff requests an award of the maximum statutory damages of

  $1,000.00 each under the FDCPA due to the frequency and nature of Defendant’s

  intentional non-compliance. Specifically, Defendant committed no less than eight (8)

  violations, engaged in conduct deemed by Congress to constitute harassment and / or

  abuse and false and /or misleading. Further, compliance with the law would have been

  simple and placed no burden on Defendant. In Edwards v. Niagara Credit Solutions, Inc.,

  586 F.Supp. 2d 1346, 1354 (N.D.Ga. 2008) the court awarded the full statutory damages

  of $1,000.00 for similar violations of 15 U.S.C. §§ 1692d(6) and 1692e(11).

         Accordingly, Plaintiff respectfully requests the maximum award of statutory

  damages of $1,000.00 under the FDCPA.




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     B. Attorney’s Fees and Costs

         As discussed above, both the FDCPA entitles prevailing plaintiffs to reasonable

  attorney’s fees and costs incurred in brining the suit. Federal courts have consistently

  interpreted the provision found in the FDCPA as making an award of attorney’s fees

  mandatory to prevailing plaintiffs. See Graziano v. Harrison, 950 F.2d 107, 113 (3d Cir.

  1991) (stating that the FDCPA “mandates an award of attorney’s fees as a means of

  fulfilling Congress’ intent that the Act should be enforced by debtors acting as private

  attorneys general”); Tolentino v. Friedman, 46 F.3d 645, 651 (7th Cir. 1995) (explaining

  that “[t]he reason for mandatory fees is that Congress chose a ‘private attorney general’

  approach to assume enforcement of the FDCPA”). Plaintiff has incurred attorney’s fees

  and costs in the prosecution and maintenance of this lawsuit. Plaintiff requests that this

  Court find that Plaintiff is entitled to attorney’s fees and costs and retain jurisdiction to

  determine the appropriate amount thereof upon Plaintiff’s motion to be filed in

  accordance with Local Rule.

  III.   CONCLUSION

         By defaulting in this Action Defendant has admitted to committing no less than

  eight (8) intentional violations of the FDCPA entitling Plaintiff to an award of statutory

  damages as well as attorney’s fees and costs incurred in bringing this Action. Based upon

  the nature and frequency of Defendant’s noncompliance, Plaintiff respectfully requests

  that the award Plaintiff the full statutory damages of $1,000.00 plus post judgment

  interest at the rate currently allowable by law. With respect to attorney’s fees and costs,




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  Plaintiff requests that the Court find that Plaintiff is entitled to recover same and that the

  Court retain jurisdiction to determine the amount of Plaintiff’s fees.

         WHEREFORE, Plaintiff requests this Court enter Default Final Judgment

  against Defendant, OMNI CREDIT SERVICES OF FLORIDA, INC., in the amount of

  $1,000.00, plus post-judgment interest, case costs, and reasonable attorney’s fees in an

  amount later to be determined by this Court.

         Respectfully, submitted this 16th day of September 2013, by:


                                         /s/ James S. Giardina
                                         James S. Giardina – Trial Counsel
                                         Fla. Bar No. 0942421
                                         The Consumer Rights Law Group, PLLC
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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 16, 2013, I electronically filed the
  foregoing document with the Clerk of the Court by using the CM/ECF system. I also
  certify that I mailed the foregoing document and the notice of electronic filing by first-
  class mail to the following non-CM/ECF participants:


                  OMNI CREDIT SERVICES OF FLORIDA, INC.
                              333 Bishops Way
                                   Suite 100
                          Brookfield, WI 53005-6209


                                              /s/ James S. Giardina
                                              James S. Giardina – Trial Counsel
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